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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

  MALEEHA AHMAD, et al.,                        )
                                                )
         Plaintiffs,                            )
                                                )
  v.                                            )      Case No. 4:17-CV-2455 CDP
                                                )
  CITY OF ST. LOUIS,                            )
                                                )
         Defendant.                             )

       AGREED MOTION AND PROTECTIVE ORDER--ATTORNEY/EXPERT
                           "EYES ONLY"

         Defendant City of St. Louis moves the Court to enter the following protective

  order pertaining to a document identified as City Bates 416-493. F.R.Civ.P. 26(c)(1).

  Plaintiffs' counsel agrees to the order. The document consists of a detailed operations

  order issued by the acting chief of police in September 2017 and contains specific

  information concerning police staging areas and command posts which could be utilized

  in the future. Unlimited disclosure of the document could jeopardize police operations in

  the future and subject police officers to danger. Accordingly, defendant requests that the

  following be entered:

         ORDERED that the document identified as City Bates 416-493 shall be produced

  to plaintiffs' counsel forthwith in redacted form, omitting addresses of staging areas and

  command posts and the names of individual officers (other than previously identified

  command rank officers or sergeants) and their specific identifying information (DSN, call

  numbers); and it is

         FURTHER ORDERED that the document identified as City Bates 416-493 will

  not be disclosed by plaintiffs' counsel except to the expert witness Golden, without leave
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  of Court or agreement of defendant, and witness Golden shall be required to execute a

  consent to be bound by the terms of this Order, and all copies of said document shall be

  returned to counsel for the City at the conclusion of this action, together with a

  declaration that all electronic copies have been deleted.


                                                JULIAN L. BUSH
                                                CITY COUNSELOR

                                                /s/ Robert H. Dierker
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                                CERTIFICATE OF SERVICE

          I hereby certify that on February 15, 2019, the foregoing was served on counsel
  of record for plaintiffs by e-mail.
                                                /s/ Robert H. Dierker 23671MO




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